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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

ALEXANDRIA DIVISION
SCATPACK, INC. CASE NO. 1:18-CV-01550
VERSUS JUDGE DRELL
GENUINE PARTS CoO. MAGISTRATE JUDGE PEREZ-MONTES
JUDGMENT

Before the court is the Report and Recommendation of the Magistrate Judge (Doc. 61)
previously filed herein. After independent (de novo) review of the record including the objections
and responses filed herein, having determined that certain findings and recommendations are
correct under the applicable law, but determining a slightly different result is appropriate, we adopt
the Report and Recommendation in part.

In formulating his Report and Recommendation, the Magistrate Judge may not have
noticed our entry of the minutes of the pretrial conference we conducted on September 17, 2020.
(Doc. 60). There we allowed and set deadlines for follow-up depositions of plaintiff's expert
witness, Dr. Paul Nelson, by October 31, 2020. We further allowed for the deposition of
Defendant’s expert , Mr. John Page, by November 30, 2020. These provisions supersede the
Magistrate Judge’s recommendation regarding a scheduling order modification; thus, those
recommendations are not adopted. The only issue which remains is the matter of sanctions. We

agree with the Magistrate Judge’s recommendation in this respect. Accordingly, it is hereby

 
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ORDERED that Genuine Parts Co.’s Motion for Sanctions (Doc. 39) is DENIED.

et
THUS DONE AND SIGNED this Z day of October 2020, at Alexandria, Louisiana.

SS

DEE D. DRELL, JUDGE —~——
UNITED STATES DISTRICT COURT

 
